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                      IN THE DISTRICT COURT OF nm UNITEµ STATES
                          FOR THE DISTRICT OF SOUTH CARdLINA
                                  GREENWOOD DIVISION    I

                                                                          I
   UNITED STATES OF AMERICA                              CRIMINAL NO.: 8:19-00181-DCC
                                                                          i
                                                                          i
                          V.
                                                                    P EA AGREEMENT

   TREVOR MAURICE HULL

                                         General Provisions

                                                                     )<
          This PLEA AGREEMENT is made this             Z..\-- day of~--~2020, between the
 United States of America, as represented by Acting United State~ Attorney A. LANCE CRICK,

 Assistant United States Attorney Leesa Washington; the DefendanJ, TREVOR MAURICE HULL,
                                                                      I       -
 and Defendant's attorney, James B. Loggins, Esquire.                 /
                                                                      I
          IN CONSIDERATION of the mutual promises made hereip, the parties agree as follows:
                                                                      !



· 1.      The Defendant agrees to plead guilty to Count 21 of the ~uperseding Indictment, which
                                                                      I
          charges that on or about January 28, 2019, the Defendant a~d others as principals, as aiders
                                                                      I




          and abettors and co-participants in jointly undertaken crtminal activity, knowingly and

          intentionally did use a communication facility, to wit:/I a telephone, to facilitate the
                                                                      I


          commission of a felony under the Controlled Substances ~ct, that is, conspiracy to import
                                                                     I
          and possess with intent to distribute distribution of h9roin, a Schedule I controlled
                                                                     I
          substance, in violation of Title 21, United States Code, ~ections 841(a)(l)(b)(l)(A) and

          846.                                                       I




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                                                                             I
2.      In order to sustain its burden of proof, the Government is *quired to prove the following:

                                            Count21

        A. The defendant knowingly and intentionally used a corrlmunication facility on or about
           the dates alleged in the Superseding Indictment;              1
                                                                         I




        B. The defendant used the communication facility with t e intent to commit or facilitate
           the commission of a felony drug offense;

        C. The defendant aided and abetted another in the commi sion of the offense.
                                                                         I


        Possible Penalties: a maximum term of imprisonmen( of four (4) years, a fine of
        $250,000 and a term of supervised release of one (1) ~ear in addition to any term of
        imprisonment, plus a special assessment of $100.      I
                                                     -                   I
                                                                         I

3.      The Defendant understands and agrees that monetary petlties [i.e., special assessments,

        restitution, fines and other payments required under the 1entence] imposed by the Court
                                                                     I
        are due and payable immediately and subject to enforcem~nt by the United States as civil
                                                                     I

        judgments, pursuant to 18 USC § 3613. In the event tht Court imposes a schedule for

        payment of restitution, the Defendant also understands thJt payments made in accordance
                                                                     I
        with installment schedules set by the Court are minimpm payments only and do not
                                                                     j


        preclude the government from seeking to enforce the jud~ment against other assets of the

        Defendant at any time, as provided in 18 USC§§ 3612, 36~3 and 3664(m). The Defendant

        further agrees to enter into the Bureau of Prisons Inmate iinancial Repayment Program if

        sentenced to a term of incarceration with an unsatisfied m~netary penalty. The Defendant
                                                                 I
        further understands that any monetary penalty imposed is tot dischargeable in bankruptcy.
                                                                 i
               A.     Special Assessment: Pursuant to 18 U.S.q §3013, the Defendant must pay
                      a special assessment of $100.00 for eac1 felony count for which he is
                      convicted. This special assessment must b paid at or before the time of the
                      guilty plea hearing or during participationJin the Bureau of Prisons Inmate
                      Financial Repayment Program if this plea esults in incarceration.

               B.     Restitution: The Defendant agrees to makj full restitution under 18 U.S.C.
                      § 3556 in an amount to be determined by th) Court at the time of sentencing,
                                                                 I
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                                                                                     I
                                                                                     I
                        which amount is not limited to the count(s~ to which the Defendant pled
                        guilty, but will include restitution to each an every identifiable victim who
                        may have been harmed by his scheme o pattern of criminal activity,
                        pursuant to 18 U.S.C. § 3663. The Defendarh agrees to cooperate fully with
                        the Government in identifying all victims. ' Upon demand, the Defendant
                        shall submit a personal financial statem nt under oath and submit to
                        interviews by the government and the U.S. Probation Office regarding the
                        Defendant's capacity to satisfy any fines or restitution. The Defendant
                        expressly authorizes the U.S. Attorney's ffice to immediately obtain a
                        credit report on the Defendant in order to e]·luate the Defendant's ability to
                        satisfy any financial obligation imposed y the Court. The Defendant
                        understands that the Defendant has a conti ing obligation to pay in full as
                        soon as possible any financial obligation irrtposed by the Court.
                                                                                 !
                                                                                 I

                C.      Fines: The Defendant understands that ~he Court may impose a fine
                        pursuant to 18 U.S.C. §§ 3571 and 3572. I

4.      Provided the Defendant complies with all the terms of thJs Agreement, the United States
                                                                             I
        agrees to move to dismiss the remaining counts of te Indictment [and any other
                                                                             !

        indictments under this number] at sentencing. The Defe11F1ant understands that the Court
                                •                                            I


        may consider these dismissed counts as relevant conduct 1ursuant to § 1B 1.3 of the United

        States Sentencing Guidelines.                                   I
5.      The Defendant understands that the obligations of the Government within the Plea
                                                                         I

                                                                        I
        Agreement are expressly contingent upon the Defendant's ~biding by federal and state laws
                                                                        I
                                                                        l
        and complying with any bond executed in this case. In t~e event that the Defendant fails

        to comply with any of the provisions of this Agreeme+ either express or implied, the

        Government will have the right, at its sole election, to voifi all of its obligations under this
                                                                     I
        Agreement and the Defendant will not have any right to {ithdraw his/her plea of guilty to

        the offense(s) enumerated herein.

                                    Cooperation and Forfeiture

6.      The Defendant agrees to be fully truthful and forthright ~ith federal, state and local law

        enforcement agencies by providing full, complete an4 truthful information about all
                                                                    I
                                                                    I
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"


                                                                                   I
            criminal activities about which he has knowledge. The/ Defendant must provide full,
                                                                                   I
            complete and truthful debriefings about these unlawful acrivities and must fully disclose

            and provide truthful information to the Government in~luding any books, papers, or
                                                                               I
            documents or any other items of evidentiary value to the/ investigation. The Defendant

            must also testify fully and truthfully before any grand j~ries and at any trials or other

            proceedings if called upon to do so by the Government, s~bject to prosecution for perjury
                                                                               I

            for not testifying truthfully. The failure of the Defendant t be fully truthful and forthright

            at any stage will, at the sole election of the Governme t, cause the obligations of the

            Government within this Agreement to become null and voi . Further, it is expressly agreed
                                                                       i
                                                                       I
            that if the obligations of the Government within this Agre1ment become null and void due

            to the lack of truthfulness on the part of the Defendant, th~ Defendant understands that:

                   A.      the Defendant will not be permitted to withhraw
                                                                      I
                                                                           his/her plea of guilty to the
                           offenses described above;                  I
                                                                           !
                   B.      all additional charges known to the Government may be filed m the .
                           appropriate district;                 I

                   C.      the Government will argue for a maximum entence for the offense to which
                           the Defendant has pleaded guilty; and

                   D.      the Government will use any and all info ation and testimony provided by

                                                                       t
                           the Defendant pursuant to this Agreement, lor any prior proffer agreements,
                           in the prosecution of the Defendant of all arges.
                                                                        I
    7.      The Defendant agrees to submit to such polygraph examtnations as may be requested by

            the Government and agrees that any such examinations sJall be performed by a polygraph

            examiner selected by the Government. Defendant further ~grees that his/her refusal to take
                                                                       1


            or his/her failure to pass any such polygraph examination ~o the Government's satisfaction
                                                                       1

            will result, at the Government's sole discretion, in the obli,ations of the Government within

            the Agreement becoming null and void.                      I


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                                                                                    I
                                                                                    I
        8.      The Government agrees that any self-incriminating inform tion provided by the Defendant

                as a result of the cooperation required by the terms of this Agreement, although available

                to the Court, will not be used against the Defendant i                  determining the Defendant's
                                                                                I
                applicable guideline range for sentencing pursuant to th~ U.S. Sentencing Commission
                                                                                I


                Guidelines. The provisions of this paragraph shall not ~e applied to restrict any such
                                                                                I
                information:                                                    I

                        A.     known to the Government prior to the date ~f this Agreement;
                                                                                I


                        B.     concerning the existence of prior convictiof s and sentences;
                                                                                I

                        C.     in a prosecution for perjury or giving a false statement;
                                                                                I
                        D.     in the event the Defendant breaches any ofte terms of the Plea Agreement;
                               or

                        E.     used to rebut any evidence or arguments offered by or on behalf of the


                                                                            l
                               Defendant (including arguments made orJssues raised sua sponte by the
                               District Court) at any state of the criminal rosecution (including bail, trial,
                               and sentencing).

        9.      Provided the Defendant cooperates pursuant to the provisi ns of this Plea Agreement, and

                that cooperation is deemed by the Government as provid ng substantial assistance in the

                investigation or prosecution of another person, the Gove1ment agrees to move the Court
                                                                            I
                for a downward departure or reduction of sentence pursu~nt to United States Sentencing
                                                                            I
                Guidelines §SKI.I, Title 18, United States Code,§ 3553fe) Q! Federal Rule of Criminal

                Procedure 35(b). Any such motion by the Government is rot binding upon the Court, and

                should the Court deny the motion, the Defendant will hfe no right to withdraw his/her

                plea.                                                       I




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                                       Merger and Other Provisions

    I 0.     The Defendant represents to the court that he/she has met ith his attorney on a sufficient
                                                                          I
             number of occasions and for a sufficient period of time to tscuss the Defendant's case

             and receive advice; that the Defendant has been truthful wi h his/her attorney and related

             all information of which the Defendant is aware pertaining to the case; that the Defendant

             and his attorney have discussed possible defenses, if any, t the charges in the Indictment

             including the existence of any exculpatory or favorable evi, ence or witnesses, discussed
                                                                          I
             the Defendant's right to a public trial by jury or by the Co$, the right to the assistance of
                                                                          I
             counsel throughout the proceedings, the right to call witnesres in the Defendant's behalf
                                                                          I
             and compel their attendance at trial by subpoena, the right tp confront and cross-examine
                                                                          i
             the Government's witnesses, the Defendant's right to testift in his own behalf, or to
                                                                          I
             remain silent and have no adverse inferences drawn from h's/her silence; and that the
                                                                          I
             Defendant, with the advice of counsel, has weighed the rel¥ve benefits of a trial by jury

             or by the Court versus a plea of guilty pursuanno this Awfmen~ and has entered this

             Agreement as a matter of the Defendant's free and voluntao/ choice, and not as a result of

             pressure or intimidation by any person.                      I

    11.      The Defendant is aware that 18 U.S.C. § 3742 and 28 U.S.C. § 2255 afford every defendant

             certain rights to contest a conviction and/or sentence. Ac       owledging those rights, the

             Defendant, in . exchange for the concessions made by he Government in this Plea
                                                                          I
             Agreement, waives the right to contest either the convictio~ or the sentence in any direct

             appeal or other post-conviction action, including any procee~ings under 28 U.S.C. § 2255.

             This waiver does not apply to claims of ineffective assis4nce of counsel, prosecutorial
                                                                          I
             misconduct, or future changes in the law that affect thf defendant's sentence. This

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             agreement does not affect the rights or obligations of the Government as set forth in 18

             U.S.C. § 3742(b). Nor does it limit the Government in its omments in or responses to any

             post-sentencing matters.                                     l
      12.    The Defendant waives all rights, whether asserted directly r by a representative, to request

                                                                          f
                                                                          I
             or receive from any department or agency of the United tates any records pertaining to

             the investigation or prosecution of this case, including witout limitation any records that

             may be sought under the Freedom of Information Act, 5            .S.C. § 552, or the Privacy Act

             of 1974, 5 U.S.C. § 552a.

      13.    The parties hereby agree that this Plea Agreement conta ns the entire agreement of the

             parties; that this Agreement supersedes all prior promisesl representations and statements

             of the parties; that this Agreement shall not be binding of any party until the Defendant

             tenders a plea of guilty to the court having jurisdiction over this matter; that this Agreement

             may be modified only in writing signed by all parties; and hat any and all other promises,

             representations and statements, whether made prior to, co temporaneous with or after this

             Agreement, are null and void.

                    \ { t}{to?o
             Date



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                           U. S. DEPARTMENT OF JUSTI E
                         Statement of Special Assessment Am unt

This statement reflects your special assessment only. There m y be other penalties imposed
at sentencing. This S ecial Assessment is due and a able at t e time oft e execution of
the plea agreement.                                           I




                               8:19-00181-DCC
                               TREVOR MAURICE HULL


                                                                         (date plea agreement signed)


MAKE CHECK OR MONEY ORDER PAYABLE TO:
CLERK, U.S. DISTRICT COURT
                                                               I
PAYMENT SHOULD BE SENT TO:
Clerk, U.S. District Court                                     I
Clement F. Haynsworth Federal Building and United States Courttjouse
300 East Washington Street                                     I,


Greenville, SC 29601                                            !



                                                               I
OR HAND DELIVERED TO:                                          I
Clerk's Office                                                 I
Clement F. Haynsworth Federal Building and U~ited States Courthpuse
300 East Washington Street                                     i
Greenville, SC 29601 (Mon. -Fri. 8:30 a.m.-4:30 p.m.)
                                                                    1




INCLUDE DEFENDANT'S NAME ON CHECK OR MONEY ORDtR (!l_o Not send cash)
                                                                    I




ENCLOSE THIS COUPON TO INSURE PROPER and PROMPT                         PLICATION OF
PAYMENT




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